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                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF ALABAMA
                                NORTHERN DIVISION

 YASHICA ROBINSON, M.D., et al.,

                       Plaintiffs,
                                                           Case No.: 2:19-cv-365-MHT-SMD
 v.


 STEVEN MARSHALL, in his official capacity as
 Alabama Attorney General,

                       Defendant.

                           MOTION TO APPEAR PRO HAC VICE

       Pursuant to Local Rule 83.1(b) of the Local Civil Rules of the United States District Court

for the Middle District of Alabama, Randall C. Marshall, a member of this Court, moves this Court

for his co-counsel, Susan Lambiase, 123 William Street, New York, NY 10038, 212-261-4750,

susan.lambiase@ppfa.org, to appear in this case pro hac vice on behalf of the Plaintiffs in the

above-captioned case. In support, Mr. Marshall states as follows:

       1.      Susan Lambiase is not admitted to practice in the U.S. District Court for the

Middle District of Alabama. Ms. Lambiase has regularly practiced law in New York. She is a

member in good standing of the New York bar. She is also a member in good standing of the

United States District Courts for the: Southern District of New York, Eastern District of New

York, Eastern District of Pennsylvania, and Eastern District of Michigan; and the United States

Courts of Appeals for the: First, Second, Third, and Tenth Circuits.

       2.      Mr. Marshall is an attorney with the ACLU of Alabama Foundation, Inc., P.O. Box

6179, Montgomery, Alabama 36106, 334-420-1741, rmarshall@aclualabama.org, and is admitted
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to practice before the Supreme Court of Alabama and the United States District Court for the

Northern, Middle, and Southern Districts of Alabama.

       3.      In accordance with the local rules of this Court, Ms. Lambiase has made payment

of this Court’s $75 admission fee.

       4.      Ms. Lambiase agrees to submit to and comply with all provisions and requirements

of the rules of conduct applicable to lawyers admitted to practice before this Court in connection

with her pro hac vice representation in this case.

       WHEREFORE, Randall C. Marshall moves this Court to enter the attached Order for Susan

Lambiase to appear before this Court on behalf of all Plaintiffs in this case.



Date: July 8, 2019
                                                      Respectfully submitted,

                                                      /s Randall C. Marshall

                                                      Randall C. Marshall
                                                      ASB-3023-A56M
                                                      ACLU OF ALABAMA
                                                      P.O. Box 6179
                                                      Montgomery, AL 36106-0179
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                                CERTIFICATE OF SERVICE

       I hereby certify that on this 8th day of July 2019, I electronically filed the foregoing with
the Clerk of Court for the United States District Court for the Middle District of Alabama using
the CM/ECF system thereby serving all counsel of record.


                                                     /s Randall C. Marshall

                                                     Randall C. Marshall
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